
MR. JUSTICE DAY
delivered the opinion of the Court.
In an unprecedented shuffling of an Aurora municipal court appeal between the Adams and Arapahoe County district courts, petitioner Martin found himself without any review of his conviction. He comes here to cut the Gordian knot which resulted in an outright dismissal of his district court appeal. We reverse and remand to the Arapahoe County district court with directions.
Martin was charged with several Aurora municipal ordinance violations. He was convicted in the Aurora municipal court — a qualified court of record. That court is situate in the City of Aurora north of Colfax and therefore in the Adams County segment of the city. Section 13-10-116(2) C.R.S. 1973, provides inter alia as follows:
“Appeals taken from judgments of a qualified municipal court of record shall be made * * * to the district court of the county in which the qualified municipal court of record is located.* * *”
Mindful of the plain language of the statute, Martin sought appeal of his conviction in the district court of Adams County. However, a district judge therein, on his own motion and without notice to the parties ordered venue of the appeal transferred to the district court of Arapahoe County. Oblivious to the statute on municipal court appeals, the court apparently acted on the fact *443that the ordinance violation was at an intersection in the south sector of Aurora on the Arapahoe County side of East Colfax Avenue. That was error.
The Arapahoe County district court ruled it had no jurisdiction but announced it was powerless to overrule the Adanas County district court. The appeal was then ordered dismissed, thus depriving Martin of any appellate rights. Martin by certiorari to that court challenges that action here. We hold Martin’s original appeal to Adams County district court was the correct procedure, and the Arapahoe district court should have returned the cause to the Adams County district court.
We order the judgment of dismissal reversed and remand to the Arapahoe district court to reinstate the appeal and transfer all papers to the district court of Adams County where the appeal will be heard without unnecessary delay.
MR. JUSTICE LEE and MR. JUSTICE ERICKSON do not participate.
